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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Allan Kustok
                          Plaintiff,
v.                                               Case No.: 1:21−cv−06932
                                                 Honorable Matthew F. Kennelly
David Mitchell
                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 22, 2022:


       MINUTE entry before the Honorable Matthew F. Kennelly: Petitioner's unopposed
motion for extension of time [23] is granted; the deadline for petitioner's reply
memorandum is extended to 6/28/2022. (mk)




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